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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                  No. 13-CR-271-LTS

RASHIN LINDSEY,                                              ORDER

                 Defendant.

-------------------------------------------------------x

                 The Court has received Defendant Rashin Lindsey’s pro se motion for a reduction

in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A). The Government is directed to file its

response to Mr. Lindsey’s motion, which must include his BOP medical records, by October 30,

2020. A complete, unredacted courtesy copy of the Government’s response must be provided to

Defendant and emailed to Chambers via SwainNYSDCorresp@nysd.uscourts.gov. The

Government may file under seal any medical records that are included in the response, and

sensitive medical information may be redacted from the response that is filed on ECF. The

unredacted originals must be filed with the Clerk’s Office with a copy of this Order.

                 Mr. Lindsey’s reply to the Government’s response, if any, must be filed by

November 20, 2020.

                   Chambers will mail a copy of this order to Mr. Lindsey.

        SO ORDERED.

Dated: New York, New York
       October 16, 2020
                                                             _/s/ Laura Taylor Swain
                                                             LAURA TAYLOR SWAIN
                                                             United States District Judge
Copy mailed to:
Rashin Lindsey
Reg. No. 68444-054


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USP Canaan
U.S. Penitentiary
Satellite Camp
P.O. Box 200
Waymart, PA 18472




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